      Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 1 of 14 PAGEID #: 119




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


       UNITED STATES OF AMERICA,                       :        CASE NO. 1:23-CR-114
                                                       :
                                  Plaintiff,           :        JUDGE TIMOTHY S. BLACK
                                                       :
           v.                                          :        UNITED STATES’
                                                       :        RESPONSE TO DEFENDANT
                                                       :        RANDAZZO’S MOTION FOR
       SAMUEL RANDAZZO,                                :        INTRADISTRICT TRANSFER
                                                       :
                                  Defendant.           :
                                                       :

       The United States respectfully submits this response in opposition to Defendant Samuel

Randazzo’s Motion for Intradistrict Transfer. (Doc. 19.) In response, the United States asserts that the

Court should deny the defendant’s motion for the reasons set forth in the following memorandum.

                                                           Respectfully submitted,

                                                           KENNETH L. PARKER
                                                           United States Attorney


                                                           s/Emily N. Glatfelter
                                                           EMILY N. GLATFELTER (0075576)
                                                           MATTHEW C. SINGER (IL 6297632)
                                                           Assistant United States Attorneys
                                                           221 East Fourth Street, Suite 400
                                                           Cincinnati, Ohio 45202
                                                           Office: (513) 684-3711
                                                           Fax: (513) 684-6385
                                                           E-mail: Emily.Glatfelter@usdoj.gov
                                                           Email: Matthew.Singer@usdoj.gov




                                                   1
   Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 2 of 14 PAGEID #: 120




                                    MEMORANDUM OF LAW

        Randazzo asserts that transferring this case to Columbus is more convenient for him,

speculates that it is more convenient for witnesses and victims, and argues that the prompt

administrations of justice would be minimally impacted – if at all – by such a transfer. Randazzo’s

arguments strain credulity. The prompt administration of justice weighs heavily in favor of

maintaining the case in the Western Division given this Court’s experience handling related cases,

and none of the other factors come close to overriding this factor. The Court should deny

Randazzo’s motion.

                                       LEGAL STANDARD

        Federal Rule of Criminal Procedure 18 governs the place of prosecution and trial for federal

defendants, and states:

        Unless a statute or these rules permit otherwise, the government must prosecute an
        offense in a district where the offense was committed. The court must set the place
        of trial within the district with due regard for the convenience of the defendant, any
        victim, and the witnesses, and the prompt administration of justice.

Fed. R. Crim. P. 18. The language of Rule 18 has been amended several times to clarify that a

defendant has no constitutional right to trial within a particular division of a district and the prompt

administration of justice is a factor the court must consider in setting the place of trial. Id, Advisory

Committee Notes to 1966 and 1979 Amendments; see also United States v. Erwin, 155 F.3d 818,

824 (6th Cir. 1998) (“[T]here is no constitutional or statutory requirement that a defendant's trial

take place in a specific courtroom or division within a federal judicial district.”) (emphasis in

original).

        Trial judges have wide discretion in fixing the place of trial and “[t]he assignment of cases

within a district is a matter within the exclusive domain of the local district judges.” United States

v. Lewis, 504 F.2d 92, 97–98 (6th Cir. 1974) (upholding the denial of defendants’ motion for

                                                   1
   Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 3 of 14 PAGEID #: 121




intradistrict transfer). “The mere fact that a defendant’s home is nearer one trial site than another

is insufficient to merit transfer.” United States v. Ford, 812 F. Supp. 761, 771 (W.D. Tenn. 1991)

(citing United States v. Afflerbach, 754 F.2d 866 (l0th Cir. 1985)); United States v. Scott-

Emuakpor, 2000 WL 288443, at *13 (W.D. Mich. Jan. 25, 2000) (“Rule 18 does not mandate

absolute convenience to a defendant.”).

                                           ARGUMENT

       The Rule 18 factors support denying the defendant’s motion to transfer this case to

Columbus.

   A. The Prompt Administration of Justice

       Trying this case in the Western Division will substantially further the prompt

administration of justice given this Court’s experience handling related matters. This district’s

local rules assign “related cases” to the same judge if the cases “appear to arise from the same or

a substantially identical transactions, happenings, or events, including any alleged conspiracy.”

S.D. Ohio Crim. R. 12.1(e). “This Rule is intended to provide for the orderly division of the

business of the Court. . . .” Id. “[T]he obvious purpose of [related case rules] is to conserve

judicial resources by permitting a judge already familiar with the record of one case to also

administer related cases, which are likely to share facts and legal issues.” United States v. Forlani,

No. 1:11CR491, 2012 WL 369537, at *1–2 (N.D. Ohio Feb. 3, 2012). “Such a rule is especially

beneficial in cases, such as the present one, where the records are voluminous.” Id.; Sinito v. United

States, 750 F.2d 512, 515 (6th Cir. 1984) (“Local rules governing the assignment of cases are

designed as internal housekeeping rules to promote the efficient operation of the district courts”).

       “[J]udicial efficiency . . . undoubtably contributes to the ‘prompt administration of justice’

as conceived by Rule 18.” United States v. Rothenberg, No. 20-CR-00266-JST-1, 2021 WL



                                                  2
   Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 4 of 14 PAGEID #: 122




4704581, at *2 n.1 (N.D. Cal. Aug. 13, 2021). District courts find that keeping related cases with

the same judge furthers the “prompt administration of justice” in resolving motions under Rule 18.

United States v. Calabrese, No. 1:11CR437, 2012 WL 1466560, at *5 (N.D. Ohio Apr. 27, 2012)

(denying motion under Rule 18 based on the district court’s experience trying related cases “arising

out of the same FBI investigation”); Rothenberg, No. 20-CR-00266-JST-1, 2021 WL 4704581, at

*2–3 (“find[ing] that an intradistrict venue transfer could negatively impact the ‘prompt

administration of justice’ given the time and effort the Court has already devoted to understanding

the facts of this case.”); United States v. Lessard, No. 11-40020-JAR, 2011 WL 1832618, at *2

(D. Kan. May 13, 2011) (finding “related cases should be tried in the same division” under Rule

18).

       The same goes here. The district has already determined that this case is related to United

States v. FirstEnergy Corp., 1:21-cr-00086, and United States v. Householder et al., 1:20-cr-

00077. (Doc. 8.) With respect to FirstEnergy, facts at issue in that case mirror evidence that will

be presented in this trial. (Compare Doc. 3, PageID 25–36 (Randazzo Indictment Over Acts) with

United States v. FirstEnergy Corp., 1:21-cr-00086, Doc. 3, PageID 92–101 (FirstEnergy Deferred

Prosecution Agreement Statement of Facts).) Indeed, the charge in FirstEnergy—conspiracy to

commit public official honest services fraud to further legislative and regulatory action by

Randazzo (and others) for the benefit of FirstEnergy through bribery—is part of the same

conspiracy charged in this case. (Compare Doc. 3, PageID 27 (Randazzo Indictment Count 1))

with United States v. FirstEnergy Corp., 1:21-cr-00086, Doc. 1, PageID 6 (FirstEnergy

Information).)

       With respect to Householder, the Court presided over a complex matter involving efforts

by FirstEnergy executives to corrupt Ohio government to further its interests—including House



                                                 3
   Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 5 of 14 PAGEID #: 123




Bill 6 legislation to bailout two nuclear plants—through bribery. In so doing, the Court managed

a docket of more than 280 entries, including more than twenty pretrial motions, a supplemental

jury questionnaire, the plea agreements of two cooperating defendants, and two immunized

witnesses. The Court then presided over a seven-week, high-profile trial consisting of more than

1100 exhibits, twenty-eight witnesses, and post-trial motions.

        This matter evolved from the Householder investigation and involves overlapping entities,

such as FirstEnergy; overlapping subject matter, such as FirstEnergy’s desire for a nuclear bailout;

and overlapping co-conspirators, such as FirstEnergy’s executives arranging bribe payments to an

Ohio public official to further the bailout. In addition, a trial in this matter will include some of

the same witnesses, bank accounts, communications, and official action—the House Bill 6

legislation. Further, both matters involved the corruption of the energy industry in Ohio; and both

matters involved using corporate entities to conceal illicit funds to further official action related to

that regulation for the benefit of FirstEnergy. The Court will therefore have the benefit of assessing

evidence in this case in the context of both the voluminous record in Householder and the facts at

issue in FirstEnergy.

        In addition to understanding the facts of the case, presiding over a case of such magnitude

required the Court to gain considerable expertise regarding the current state of federal corruption

law to rule on pretrial motions, decide evidentiary issues at trial, and craft appropriate jury

instructions in Householder, all of which are relevant here.             For example, although the

Householder indictment charged a racketeering conspiracy, the predicate crimes underlying the

conspiracy involved the same corruption offenses charged here. (Compare United States v.

Householder, 1:20-cr-00077, Doc. 22 (Householder Indictment) with 1:20-cr-00077, Doc. 260

(Householder jury instructions) with Doc. 3 (Randazzo Indictment).)              Further, the Court’s



                                                   4
   Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 6 of 14 PAGEID #: 124




experience applying the law to the motions in limine and evidentiary issues at trial will help this

Court more efficiently resolve similar issues in this matter. In other words, this Court’s handling

of related cases will help the Court resolve pretrial matters and address in real time complicated

issues as they are presented at trial more easily and efficiently.

       Indeed, this Court’s legal expertise in an evolving area of the law and factual expertise as

to the complex issues and facts in this case are the reasons the district deemed this case related to

Householder and FirstEnergy. S.D. Ohio Crim. R. 12.1(e); Sinito, 750 F.2d at 515. The judicial

efficiency gained by this expertise is a determining factor in resolving Rule 18 transfers motions

in complex public corruption cases. Calabrese, 2012 WL 1466560, at *1 n.1 (intradistrict transfer

proper where the case “share[d] alleged facts with numerous other cases—stemming from the same

Cuyahoga County [public corruption] investigation—that are currently pending with, or that

already have been presided over by, the undersigned”).

       Further, trying this matter in this Court’s Cincinnati courtroom, using this Court’s judicial

staff and resources, will further the Court’s efficiency and ability to otherwise manage its docket,

while not burdening the dockets (and litigants) of the other judges in the district. United States v.

Alvarez, 561 F. App’x 375, 381 (5th Cir. 2014) (listing docket management and logistics among

the factors the court may consider); United States v. Scholl, 166 F.3d 964, 970 (9th Cir. 1999)

(affirming district court relying on “the efficiency to be gained by not transferring the matter to

another judge” in evaluating intradistrict venue transfer); United States v. Scott-Emuakpor, No.

1:99-CR-138, 2000 WL 288443, at *13 (W.D. Mich. Jan. 25, 2000) (denying intradistrict transfer

motion because it “would unnecessarily burden the Court and its staff with having to travel” and

impact other matters on the court’s docket).




                                                  5
    Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 7 of 14 PAGEID #: 125




       The defendant completely discounts this Court’s vast experience – and the time required

for another judge to come up to speed – in claiming that moving this matter to Columbus would

have “minimal, if any, impact on the prompt administration of justice.” (Doc. 19 at PageID 110.)

His argument is premised on his attempt to distance his case from the related cases on the Court’s

docket. For example, the defendant argues that his case is unrelated to the other cases because

“Randazzo” was mentioned only a few times during the Householder trial. But the minimal

number of references to the defendant’s name is merely a reflection that the parties abided by their

pretrial agreement and the Court’s pretrial order not to mention “Randazzo.” (United States v.

Householder, 1:20-cr-00077, Doc. 161, PageID 3934.) 1 Even if there had been no pretrial

agreement, whether “Randazzo” was mentioned at Householder’s trial at most reflects a strategic

decision by the parties.



1
  In his motion, the defendant asserts that the government “confirmed the separate nature of the
two cases…” in responding to the defendants’ motion in limine to exclude references to Randazzo.
(Doc. 19, PageID 111–12). That statement is not accurate. Rather, the government stated in its
response to the defendants’ motion:

               The defendants filed the instant motion in limine to exclude certain
               evidence. First, the defendants seek to exclude evidence regarding
               FirstEnergy’s bribery of Public Official B, as described in the
               Deferred Prosecution Agreement, which the defendants characterize
               as irrelevant and prejudicial. (Def. Motion, PageID 3801-03). The
               United States does not intend to introduce such evidence. To be
               clear, some evidence at trial (both records and witness testimony)
               may refer to Public Official B by name or title, but the United States
               does not intend to introduce any evidence about payments made to
               Public Official B or a scheme to bribe Public Official B. However,
               if such evidence becomes relevant because of the defendants’ cross-
               examination, case, or argument, the United States will seek to revisit
               this issue with the Court and parties.

(1:20-cr-00077, Doc. 145 at PageID 3832.) This strategic decision is unexceptional given that the
separate bribery charges against Randazzo involve the same bribe payors and some of the same
official action as Householder. See Fed. R. Evid. 403 (allowing exclusion of evidence that
substantially “confus[es] the issues”).
                                                 6
   Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 8 of 14 PAGEID #: 126




       To get around the judicial efficiencies of trying this case in Cincinnati, the defendant offers

that he “is willing to waive time under the Speedy Trial Act to accommodate transfer.” (Doc. 19-

1, PageID 110). But this right is not his alone to waive. “[T]he [Speedy Trial] Act was designed

with the public interest firmly in mind.” Zedner v. United States, 547 U.S. 489, 501 (2006) (citing

18 U.S.C. § 3161(h)(8)(A)). “[T]he Act serves not only to protect defendants, but also to vindicate

the public interest in the swift administration of justice,” Bloate v. United States, 559 U.S. 196,

211 (2010)—the same interest set forth in Rule 18. So, like the Speedy Trial Act, the defendant

cannot simply waive the public’s interest in the “prompt administration of justice” under Rule 18.

In re Chesson, 897 F.2d 156, 159 (5th Cir. 1990) (“Willingness of a defendant to waive Speedy

Trial Act rights does not alter a court’s duty to consider the prompt administration of justice as a

[Rule 18] factor.”) (internal quotation marks omitted).

       Nor does any Speedy Trial waiver discount the expertise gained by this Court in resolving

related matters and the judicial efficiencies inherent in that expertise.            “[T]he prompt

administration of justice includes more than the case at bar; the phrase includes the state of the

court’s docket generally,” along with other factors, including “the impact the trial location will

have on the timely disposition of the instant case and other cases.” In re Chesson, 897 F.2d at 159.

The administration of justice will operate more effectively and efficiently through this Court

because another judge in this district would have to duplicate the time and resources this Court has

already spent resolving issues relating to the same or similar facts and legal issues. The defendant

cannot unilaterally contravene the purpose of Rule 18 and this district’s local rule designed “to

promote the efficient operation of the district courts.” Sinito, 750 F.2d at 515; Forlani, 2012 WL

3524751, at *5.




                                                 7
   Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 9 of 14 PAGEID #: 127




        For all these reasons, the prompt administration of justice strongly favors denying the

defendant’s transfer motion.

    B. Convenience of Witnesses, Victim Considerations, and Convenience of the Defendant

        Balancing the remaining Rule 18 factors does not support the defendant’s motion.

        The defendant cites the convenience of witnesses as a factor supporting his motion. But

most of the witnesses anticipated by the defendant will be government witnesses, and the

government does not believe that trial in Cincinnati will be a burden. United States v. Maricle,

No. 609-16-S-DCR, 2009 WL 3211104, at *4 (E.D. Ky. Oct. 1, 2009) (the location of witnesses

not a significant concern where it was “anticipated that the government will call the vast majority

of witnesses. . . . [and] [t]he government has not complained that transfer to Frankfort presents any

hardship”). In fact, in the Householder trial, many of the twenty-eight witnesses traveled into

Cincinnati to testify without issue.

        The defendant next cites the presence of victims and the location of certain events in the

Indictment as supporting transfer. Not so. The Indictment details actions taking place throughout

the State of Ohio. Similarly, as alleged in the Indictment, the charges include a conspiracy to

“defraud and deprive the citizens of the State of Ohio” of the defendant’s honest services through

bribery, including those citizens located in the Western Division. (Doc. 3, PageID 27); United

States v. Lee, 919 F.3d 340, 349–50 (6th Cir. 2019) (honest services fraud “require[s] that the

official acted with intent to deprive the public of honest services”); United States v. Fattah, 813 F.

App’x 808, 813–14 (3d Cir. 2020) (corrupt “conduct undermines the confidence of the citizenry

in the integrity of all public institutions and public officials. This cynicism saps the strength of [ ]

our democracy”). In addition, members of Industry Group 1 were located throughout the State of




                                                   8
    Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 10 of 14 PAGEID #: 128




Ohio, including in the Western Division during the relevant period. This factor does not support

transfer.

        The defendant also asserts that his case should be transferred to Columbus because a trial

in Cincinnati would be significantly inconvenient for him on account of chronic health issues and

financial considerations. 2 The defendant attests that he has nerve damage in his leg and painful

sciatic nerve irritation that is exacerbated by prolonged periods of sitting.3 Unfortunately, the

defendant will endure these health issues, regardless of whether the trial is held in Cincinnati or

Columbus. If past experience is any indication of what to expect in the future, this Court has

accommodated both defendant and juror health issues by taking more frequent breaks during the

trial day.

        The defendant contends that his health conditions would be exacerbated by a daily drive

from Columbus during trial days, thus, he would need to reside in Cincinnati during the trial, which

he claims would be cost-prohibitive. According to the defendant’s affidavit:




2
 Notably, many defendants that come before the Court do not have the opportunity to make these
arguments.
3
  The defendant states that he has several chronic health issues but has only specified nerve damage
and sciatic nerve irritation in his affidavit. Therefore, the United States’s response is limited to
those conditions.
                                                 9
  Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 11 of 14 PAGEID #: 129




(Doc. 19-2, PageID 116.)     However, public records indicate that the defendant transferred $3

million to his attorneys after the FBI searched his residence. (Exhibit A, ¶¶ 3–4 (affidavit filed in

Franklin County Court of Common Pleas).) It is unclear the extent to which that money is

unavailable to him. Regardless, however, the defendant attests that he has other sources of income

separate and apart from the $3 million.

        To buttress his inconvenience arguments, the defendant asserts that his counsel and support

network will be unnecessarily burdened by a trial in Cincinnati. For example, the defendant claims

that Mr. Sugarman is based out of Columbus and a trial in Cincinnati would be logistically and

financially burdensome for him. (Doc. 19, PageID 105.) Additionally, the defendant argues that

his closest family and friends live in Columbus and will be inconvenienced if they must travel to

Cincinnati for a trial.

        But these arguments do little to advance his cause. The defendant has two attorneys of

record both of whom will have to travel regardless of whether the trial occurs in Cincinnati or

Columbus. Mr. DeVooght, who filed the instant motion, is based out of Chicago. And Mr.

Sugarman appears to currently reside in Florida, where he has requested the United States send

correspondence and discovery after December 27, 2023. Similarly, based on the defendant’s

                                                 10
  Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 12 of 14 PAGEID #: 130




recent pretrial request to travel to California to visit his children, at least some of the defendant’s

close family would have to travel for a trial regardless of location.

       But even if the defendant’s convenience arguments were well-supported, they would not

outweigh the detrimental effect of a transfer on the prompt administration of justice in this case,

particularly given the modest inconvenience noted by the defendant. Alvarez, 561 F. App’x at 381

(explaining inconvenience of intradistrict transfer 300 miles from where parties and counsel

resided “is insufficient to reverse the district court's decision to transfer venue”); In re Chesson,

897 F.2d at 158–59 (acknowledging 150 mile intradistrict transfer “imposes a burden, an added

expense, and is inconvenient to them and their witnesses” but affirmed based on district court’s

docket management concerns); United States v. Joyce, No. CR. 07-31 ERIE, 2008 WL 2367307,

at *4 (W.D. Pa. June 10, 2008) (finding 128-mile travel for defendant or witnesses a “relatively

minor inconvenience” when balanced against the prompt administration of justice); United States

v. Tettleton, No. CRIM. 09-00015-01, 2009 WL 1307888, at *2 (W.D. La. May 8, 2009) (finding

inconvenience to defendants and the witness of less than two hour travel for trial insufficient to

warrant relief because “docket management” supported transfer); Scott-Emuakpor, 2000 WL

288443, at *13 (“While trial in Lansing would no doubt be more convenient for Defendant and

possibly his witnesses . . . judicial efficiency is the more practical concern in the Court’s

decision.”); Calabrese, 2012 WL 1466560, at *5 (denying defendant’s motion based on court’s

experience trying a complex related case even though the defendant “believes that another forum

would be more convenient”).

                                          CONCLUSION

       For these reasons, the Court should deny the defendant’s motion.




                                                  11
Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 13 of 14 PAGEID #: 131




                                          Respectfully submitted,

                                          KENNETH L. PARKER
                                          United States Attorney


                                          s/Emily N. Glatfelter
                                          EMILY N. GLATFELTER (0075576)
                                          MATTHEW C. SINGER (IL 6297632)
                                          Assistant United States Attorneys
                                          221 East Fourth Street, Suite 400
                                          Cincinnati, Ohio 45202
                                          Office: (513) 684-3711
                                          Fax: (513) 684-6385
                                          E-mail: Emily.Glatfelter@usdoj.gov
                                          Email: Matthew.Singer@usdoj.gov




                                     12
  Case: 1:23-cr-00114-TSB Doc #: 21 Filed: 02/29/24 Page: 14 of 14 PAGEID #: 132




                               CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing Response was served electronically upon all

counsel of record.



                                                    s/Emily N. Glatfelter
                                                    EMILY N. GLATFELTER (0075576)
                                                    Assistant United States Attorney




                                               13
